
PER CURIAM.
Upon consideration of the appellant’s “Motion to Stay Appeal Proceedings,” which the Court treats as a response to its order of October 14, 2005, the Court has determined that the “Order Denying Relief from Order” is not an appealable order. See Bennett’s Leasing, Inc. v. First Street Mortgage Corp., 870 So.2d 93 (Fla. 1st DCA 2003); see also Banks v. State, 916 So.2d 35 (Fla. 1st DCA 2005). Accordingly, the appeal is hereby dismissed for lack of jurisdiction. All pending motions are denied as moot.
BARFIELD, WOLF, and BROWNING, JJ., concur.
